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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 OCALA DIVISION

 CHERYL WEIMAR,

        Plaintiff,

 v.                                                     CASE NO.: 5:19-cv-548-CEM-PRL

 THE FLORIDA DEPARTMENT OF
 CORRECTIONS, KEITH TURNER,
 and RYAN DIONNE,

      Defendants.
 ________________________________/

        PLAINTIFF’S SECOND MOTION FOR PARTIAL SUMMARY
       JUDGMENT, AND INCORPORATED MEMORANDUM OF LAW

        Plaintiff, Cheryl Weimar, by and through undersigned counsel, pursuant to

 Fed. R. Civ. P. 56(a), hereby files this Second Motion for Partial Summary

 Judgment, moving this honorable Court for the entry of an Order granting judgment

 as to the issue of whether Plaintiff is a “qualified individual” for purposes of her

 claims against Defendant Florida Department of Corrections (“FDC”) for violation

 of the Americans with Disabilities Act (“ADA”) and the Rehabilitation Act (“RA”).

        The record indisputably demonstrates that Plaintiff is a “qualified individual”

 for purposes of the ADA and RA, in that she was indisputably an individual with a

 disability 1 who, with or without reasonable modifications to rules, policies, or


 1
   This Court has already determined that Plaintiff is an individual with a disability, as a matter of
 law, for purposes of her ADA and RA claims, see ECF No. 136 (“Plaintiff’s Motion for Summary
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 practices, the removal of architectural, communication, or transportation barriers, or

 the provision of auxiliary aids and services, meets the essential eligibility

 requirements for the receipt of services or the participation in programs or activities

 provided by FDC—including, without limitation, medical and mental health

 services, programs, and activities (which Plaintiff was not only entitled, eligible, and

 qualified to receive, but also had, in fact, received from FDC throughout her

 incarceration), as well as programs, services, and activities of calm and reasonable

 communication with responding FDC officers, and not being subject to physical

 beatings by FDC officers.

        Accordingly, Plaintiff is entitled to summary judgment as to the “qualified

 individual” element of her ADA and RA claims against Defendant FDC.

                                    I. INTRODUCTION

        This is a civil rights action for damages. Plaintiff has sued Defendants for

 deliberately depriving her of her rights under the United States Constitution.

 Specifically, Plaintiff asserts claims against Defendants Turner and Dionne for

 intentionally using excessive force in violation of the Eighth Amendment to the

 United States Constitution (Count I) and Defendant FDC for discrimination on the




 Judgment (Doc. 85) is GRANTED . . . with regard to Plaintiff’s claim of having a disability”),
 and expressly has not determined or addressed the issue of whether Plaintiff is a “qualified
 individual” for purposes of her ADA and RA claims, see id. (“this Order solely addresses whether
 Plaintiff has a disability, not whether she was “a qualified individual with a disability”).

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 basis of disability in violation of the Title II of the Americans with Disabilities Act

 (“ADA”) (Count II) and Section 504 of the Rehabilitation Act (“RA”) (Count III).

           Plaintiff has been incarcerated in the custody of FDC since January 2016. She

 has a history of physical, mental, and intellectual disabilities, for which she was

 entitled to (and, in fact, had previously received) services and participation in

 programs and activities, and for which FDC was required to provide (and did, in

 fact, had previously provided) Plaintiff with services and allow Plaintiff to

 participate in programs and activities. In particular, Plaintiff has a history of major

 depressive disorder (“MDD”), and was diagnosed with same by FDC staff at or

 around the time of her initial health screening in 2016. Throughout her incarceration,

 Plaintiff was regularly prescribed medications for her MDD and routinely seen and

 monitored by FDC’s mental health staff.

           In order to recover compensatory damages in connection with her ADA/RA

 claims, Plaintiff must establish she is a “qualified individual” with a disability.2

 Because Plaintiff is an inmate who indisputably suffered from MDD throughout her

 incarceration—for which Plaintiff was entitled to (and, in fact, had previously

 received) services and participation in programs and activities, and for which FDC

 was required to provide (and did, in fact, had previously provided) Plaintiff with

 services and allow Plaintiff to participate in programs and activities—Plaintiff is


 2
     As stated above, the Court has already determined that Plaintiff has a disability. See note 1, supra.

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 entitled to summary judgment as to the “qualified individual” element of her ADA

 and RA claims.

            II. STATEMENT OF UNDISPUTED MATERIAL FACTS 3

        Plaintiff is an inmate incarcerated in Defendant FDC’s prison system, and has

 been incarcerated in FDC custody, continuously and without any interruption, since

 January 21, 2016. See ECF No. 46, at ¶¶ 6, 10, 11. When Plaintiff entered FDC’s

 custody, she underwent an initial healthcare screening and was subsequently

 diagnosed with major depressive disorder (“MDD”) by FDC staff. See ECF No. 80-

 1, at FDC 013. Throughout her incarceration, Plaintiff was regularly provided

 medical and mental health services by FDC, and participated in medical and mental

 health programs and activities provided by FDC, relating to her MDD—including

 without limitation, being prescribed medications for her MDD, and being routinely

 monitored by FDC’s mental health staff at every facility she was housed, including

 Lowell Correctional Institution (“Lowell CI”). See, e.g., ECF Nos. 80-5 at FDC 0462

 to 80-6 at FDC 0610; ECF Nos. 80-8 at FDC 0799 to 80-10 at FDC 0958. Indeed,

 Plaintiff’s diagnosis with, recorded history of, and eligibility and receipt of

 programs, services, and activities relating to treatment for, MDD is well-documented

 within her FDC medical records. See, e.g., id.; see also ECF No. 80-1 at FDC 013.



 3
  In addition to the facts set forth herein, Plaintiff also incorporates the Statement of Undisputed
 Material Facts set forth in her first Motion for Partial Summary Judgment. See ECF No. 85.

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       FDC is obligated by law to provide inmates with, and inmates are entitled,

 eligible, and qualified to receive, medical and mental health services. Indeed, “[t]he

 State of Florida is responsible for providing inmates with a constitutional standard

 of care when they are admitted to the Department’s institutions, in accordance with

 Sections 945.025(2), and 945.6034, F.S. This includes comprehensive medical,

 mental health and dental services, and all associated ancillary services.” See Florida

 Department of Corrections, Office of Health Services, available at http://prod.fdc-

 wpws001.fdc.myflorida.com/org/health.html.

       Moreover, FDC has expressly acknowledged and admitted in this litigation

 that inmates (such as and including Plaintiff) are entitled, eligible, and qualified to

 receive, and that FDC is required to provide and offer inmates (such as and including

 Plaintiff), medical and mental health services:

       1.     Admit that Ms. Weimar met the essential eligibility requirements
              for the receipt of medical services on August 21, 2019.

              RESPONSE:

              Denied as stated. The Defendant admits that the Plaintiff is
              eligible for medical services in accordance with federal law,
              state law, and the FDC’s Health Services Bulletin (“HSB”),
              policies, and procedures.

       2.     Admit that Ms. Weimar met the essential eligibility requirements
              for the receipt of mental health services on August 21, 2019.




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             RESPONSE:

             Denied as stated. The Defendant admits that the Plaintiff met
             the requirements for the receipt of mental health services on
             August 21, 2019, under federal law, state law, and the FDC’s
             HSBs, policies, and procedures.

       3.    Admit that the Department of Corrections is required to provide
             medical services to incarcerated inmates.

             RESPONSE:

             Denied as stated. The Defendant admits that the FDC is
             required to provide medical services to incarcerated inmates
             in accordance with federal law, state law, and the FDC’s
             HSBs, policies, and procedures.

       4.    Admit that the Department of Corrections is required to provide
             mental health services to incarcerated inmates.

             RESPONSE:

             Denied as stated. The Defendant admits that the FDC is
             required to provide mental health services to incarcerated
             inmates in accordance with federal law, state law, and the
             FDC’s HSBs, policies, and procedures.

       5.    Admit that the Department of Corrections is required to offer
             medical services to incarcerated inmates.

             RESPONSE:

             Denied as stated. The Defendant admits that the FDC is
             required to offer medical services to incarcerated inmates in
             accordance with federal law, state law, and the FDC’s HSBs,
             policies, and procedures.

       6.    Admit that the Department of Corrections is required to offer
             mental health services to incarcerated inmates.




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             RESPONSE:

             Denied as stated. The Defendant admits that the FDC is
             required to offer mental health services to incarcerated
             inmates in accordance with federal law, state law, and the
             FDC’s HSBs, policies, and procedures.

       7.    Admit that Ms. Weimar, as an inmate incarcerated within FDC,
             is entitled to receive medical services.

             RESPONSE:

             Denied as stated. The Defendant admits that the Plaintiff is
             entitled to receive medical services in accordance with
             federal law, state law, and the FDC’s HSBs, policies, and
             procedures.

       8.    Admit that Ms. Weimar, as an inmate incarcerated within FDC,
             is entitled to receive mental health services.

             RESPONSE:

              Denied as stated. The Defendant admits that the Plaintiff, as
             an inmate incarcerated within the FDC, is entitled to receive
             mental health services in accordance with federal law, state
             law, and the FDC’s HSBs, policies, and procedures

       9.    Admit that Ms. Weimar, as an inmate incarcerated within FDC,
             is eligible for receipt of mental health services.

             RESPONSE:

             Denied as stated. The Defendant admits that the Plaintiff is
             eligible for receipt of medical services in accordance with
             federal law, state law, and the FDC’s HSBs, policies, and
             procedures.

       10.   Admit that Ms. Weimar, as an inmate incarcerated with FDC, is
             eligible for the receipt of mental health services.




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             RESPONSE:

             Denied as stated. The Defendant admits that the Plaintiff, as
             an inmate incarcerated with the FDC, is eligible for the
             receipt of mental health services in accordance with federal
             law, state law, and the FDC’s HSBs, policies, and procedures.

       11.   Admit that Ms. Weimar, as an inmate incarcerated within FDC,
             was qualified for the receipt of medical services on August 21,
             2019.

             RESPONSE:

             Denied as stated. The Defendant admits that the Plaintiff was
             qualified for the receipt of medical services in accordance
             with federal law, state law, and the FDC’s HSBs, policies, and
             procedures on August 21, 2019.

       12.   Admit that Ms. Weimar, as an inmate incarcerated within FDC,
             was qualified for the receipt of mental health services on August
             21, 2019.

             RESPONSE:

             Denied as stated. The Defendant admits that the Plaintiff, as
             an inmate incarcerated within the FDC, was qualified for the
             receipt of mental health services on August 21, 2019, in
             accordance with federal law, state law, and the FDC’s HSBs,
             policies, and procedures.

 See Defendant Florida Department of Corrections’ Answers to Plaintiff’s Seventh

 Request for Admissions, submitted herewith as Exhibit 1.




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                    III. SUMMARY JUDGMENT STANDARD

       Summary judgment is appropriate and should be granted when “the pleadings,

 depositions, answers to interrogatories and admissions on file, together with the

 affidavits, if any, show that there is no genuine issue of material fact and that the

 moving party is entitled to summary judgment as a matter of law.” Fed. R. Civ. P.

 56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); Everett v. Napper, 833

 F.2d 1507, 1510 (11th Cir. 1987).

       An issue of fact is “genuine” if the record as a whole could lead a rational trier

 of fact to find for the nonmoving party; however, the “mere existence of some

 alleged factual dispute between the parties will not defeat an otherwise properly

 supported motion for summary judgment; the requirement is that there be no genuine

 issue of material fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247 (1986).

 “An issue of fact is ‘material’ if it is a legal element of the claim, as identified by the

 substantive law governing the case, such that its presence or absence might affect

 the outcome of the suit.” Tipton v. Bergrohr GMBH-Siegen, 965 F.2d 994, 998 (11th

 Cir. 1992) (citing Anderson, 477 U.S. at 248).

       A movant’s “burden under Rule 56 of ‘showing’ there are no genuine issues

 of material fact does not mandate citing record evidence at every turn.” Humphreys

 v. General Motors Corp., 839 F. Supp. 822, 825 (N.D. Fla. 1992). Conversely, in

 opposing summary judgment, “Rule 56(e) . . . requires the nonmoving party to go



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  beyond the pleadings and by her own affidavits, or by the ‘depositions, answers to

  interrogatories, and admissions on file,’ designate ‘specific facts showing that there

  is a genuine issue for trial.’” Unum Life Ins. Co. of Am. v. Sisk, No. 4:12cv62-

  RH/CAS, 2012 U.S. Dist. LEXIS 184554, at *4 (N.D. Fla. Dec. 6, 2012) (quoting

  Owen v. Wille, 117 F.3d 1235, 1236 (11th Cir. 1997)).

        “The Eleventh Circuit has consistently held that conclusory allegations

  without specific supporting facts have no probative value, and are legally insufficient

  to defeat summary judgment.” United States v. Neely, No. 3:07cv217-MCR/EMT,

  2008 U.S. Dist. LEXIS 115307, at *8 (N.D. Fla. Sep. 29, 2008) (citing Leigh v.

  Warner Bros., Inc., 212 F.3d 1210. 1217 (11th Cir. 2000), and Sammons v. Taylor,

  967 F.2d 1533, 1544-5 & n.5 (11th Cir. 1992)). Thus, “[t]he court is not obliged []

  to deny summary judgment for the moving party when the evidence favoring the

  nonmoving party is ‘merely colorable or is not significantly probative.’” Id. at *7

  (quoting Anderson, 477 U.S. at 249-50). Additionally, while “facts must be viewed

  in the light most favorable to the nonmoving party,” such inferences are proper “only

  if there is a ‘genuine’ dispute as to those facts.” Ricci v. DeStefano, 557 U.S. 557,

  586 (2009) (quoting Scott v. Harris, 550 U.S. 372, 380 (2007)) (emphasis added).




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                     IV. STANDARD UNDER THE ADA AND RA

         Title II of the ADA provides that “no qualified individual with a disability

  shall, by reason of such disability, be excluded from participation in or be denied the

  benefits of the services, programs, or activities of a public entity, or be subjected to

  discrimination by any such entity.” Hoffer III, at 1296 (quoting 42 U.S.C. § 12132).4

  “[A] qualified inmate who is denied the benefit of medical services by reason of his

  disability can state a Title II ADA claim.” Id. at 1297; see also Garner v. Bryson,

  No. 5:16-cv-121, 2018 U.S. Dist. LEXIS 230515, at *9-10 (M.D. Ga. Jan. 11, 2018)

  (citing Pa. Dep’t of Corr. v. Yeskey, 524 U.S. 206, 211, 213 (1998); Bircoll v. Miami-

  Dade Cty., 480 F.3d 1072, 1081 (11th Cir. 2007)).

         To prevail upon a claim under Title II of the ADA, a plaintiff must establish:

         (1) that he is a qualified individual with a disability; (2) that he was
         either excluded from participation in or denied the benefits of a public
         entity’s services, programs, or activities, or was otherwise
         discriminated against by the public entity; and (3) that the exclusion,
         denial of benefit, or discrimination was by reason of the plaintiff’s
         disability.


  4
     Section 504 of the RA contains virtually identical wording, except that it proscribes
  discrimination “under any program or activity receiving Federal financial assistance.” 29 U.S.C.
  § 794. “The only relevant difference [from the ADA] is that the RA has a federal funding
  requirement,” however, “[i]t is undisputed that FDC receives federal funds.” Hoffer II, at 1298
  (citing Badillo v. Thorpe, 158 F. App’x 208, 214 (11th Cir. 2005)). It is also well-settled that
  “[d]iscrimination claims under the Rehabilitation Act are governed by the same standards used in
  ADA cases.” Hoffer II, at 1298 (quoting Cash v. Smith, 231 F.3d 1301, 1305 (11th Cir. 2000));
  see also Silberman v. Miami Dade Transit, 927 F.3d 1123, 1134 (11th Cir. 2019) (“given the
  textual similarities between the two statutes, ‘the same standards govern’ claims under both, and
  we ‘rely on cases construing [Title II and § 504] interchangeably’”) (quoting T.W. ex rel. Wilson
  v. Sch. Bd. of Seminole Cty., Fla., 610 F.3d 588, 604 (11th Cir. 2010)). Thus, Plaintiff’s ADA and
  RA claims are properly analyzed using the same standard.

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  Bircoll, 480 F.3d at 1083 (citing Shotz v. Cates, 256 F.3d 1077, 1079 (11th Cir.

  2001)). “The elements of Title II may be further refined and a Plaintiff can proceed

  on theories ‘of intentional discrimination, disparate treatment, or failure to make

  reasonable accommodations.’” Garner, 2018 U.S. Dist. LEXIS 230515, at *10

  (quoting Rylee v. Chapman, 316 F. App’x 901, 906 (11th Cir. 2009), and citing

  Schwarz v. City of Treasure Island, 544 F.3d 1201, 1212 n.6 (11th Cir. 2008)).

        V.     Plaintiff is a “Qualified Individual” Under the ADA and RA

        As specifically relevant here, under the ADA (and RA), a “qualified

  individual with a disability” is defined as:

        An individual with a disability who, with or without reasonable
        modifications to rules, policies, or practices, the removal of
        architectural, communication, or transportation barriers, or the
        provision of auxiliary aids and services, meets the essential eligibility
        requirements for the receipt of services or the participation in programs
        or activities provided by a public entity.

  42 U.S.C. § 12131(2).

        Simply by virtue of her incarceration, Plaintiff met the essential eligibility

  requirements for the receipt of medical and mental health services. See, e.g., Pa.

  Dep’t of Corr. v. Yeskey, 524 U.S. 206, 210 (1998) (holding that prison “medical

  services” are within the scope of Title II of the ADA); Ancata v. Prison Health

  Servs., Inc., 769 F.2d 700, 705 (11th Cir. 1985) (“The federal courts have

  consistently ruled that governments, state and local, have an obligation to provide

  medical care to incarcerated individuals.”); Morrison v. The Florida Department of


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  Corrections, et al., No. 4:18-cv-576-MW/CAS (N.D. Fla. Mar. 2, 2020 (ECF No.

  145, Order Granting in Part and Denying in Part Plaintiff’s Motion for Summary

  Judgment, a copy of which attached hereto as Exhibit 2); Siskos v. Sec’y, Dep’t of

  Corr., No. 4:17-cv-186-RH/GRJ, 2018 U.S. Dist. LEXIS 92565, at *17 (N.D. Fla.

  May 18, 2018) (quoting Johnson v. City of Saline, 151 F.3d 564, 569 (6th Cir. 1998)

  (determining that “services, programs, and activities include all government

  activities”)); Raines v. Florida, 983 F. Supp. 1362, 1372 (N.D. Fla. 1997) (“It is

  evident from the reported decisions, however, that to be ‘otherwise qualified,’ a

  person need only possess the basic eligibility requirements of the public program in

  which the individual seeks to participate.”) (citing Tugg v. Towey, 864 F. Supp.

  1201, 1205 (S.D. Fla. 1994)).5

         When Plaintiff entered FDC’s custody, she underwent an initial healthcare

  screening and was subsequently diagnosed with MDD by FDC staff. See ECF No.



  5
    See also Moore v. Tanner, No. 07-cv-10442, 2008 U.S. Dist. LEXIS 63280, at *19 (E.D. Mich.
  Aug. 4, 2008) (“A person is a ‘qualified individual’ under the ADA and RA if he or she is qualified
  to receive the benefits of a public service, program, or activity. Spencer v. Earley, 278 Fed. Appx.
  254, 2008 U.S. App. LEXIS 10574, 2008 WL 2076429, at *5 (4th Cir. 2008) (citing Constantine
  v. Rectors & Visitors of George Mason Univ., 411 F.3d 474, 497, 498 (4th Cir. 2005)). This Court
  will assume for purposes of this decision that plaintiff was a qualified individual because, as an
  inmate of the Jail, he was a recipient of the services provided to inmates of the Jail.”); Pruitt v.
  Lewis, No. 06-cv-2867, 2008 U.S. Dist. LEXIS 947, at *19 (W.D. Tenn. Jan. 7, 2008) (“In the
  context of a state prison, a ‘benefit, program, or service’ may include recreational activities,
  medical services, as well as educational and vocational programs.” (citing Yeskey, 524 U.S. at
  210); accord Roberts v. Khounphixay, No. 18-cv-746-MJP, 2020 U.S. Dist. LEXIS 80010, at *2-
  3 (W.D. Wash. May 6, 2020); Harrison v. Mackie, No. 1:16-cv-879, 2017 U.S. Dist. LEXIS 32382,
  at *15-16 (W.D. Mich. Mar. 7, 2017); Eagle v. Mich. State Indus., No. 2:14-cv-69, 2014 U.S. Dist.
  LEXIS 124887, at *5 (W.D. Mich. Sep. 8, 2014);

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  80-1, at FDC 013. Throughout her incarceration, Plaintiff was regularly provided

  medical and mental health services by FDC, and participated in medical and mental

  health programs and activities provided by FDC, relating to her MDD—including

  without limitation, being prescribed medications for her MDD, and being routinely

  monitored by FDC’s mental health staff at every facility she was housed, including

  Lowell CI. See, e.g., ECF Nos. 80-5 at FDC 0462 to 80-6 at FDC 0610; ECF Nos.

  80-8 at FDC 0799 to 80-10 at FDC 0958. Indeed, Plaintiff’s diagnosis with, recorded

  history of, and eligibility and receipt of programs, services, and activities relating to

  treatment for, MDD is well-documented within her FDC medical records. See, e.g.,

  id.; see also ECF No. 80-1 at FDC 013. In addition, Defendant FDC has readily

  admitted (as it must) that Plaintiff was entitled to, and eligible and qualified for,

  receipt of medical and mental health services and participation in medical and mental

  health programs and activities. See Exhibit 1.

        Accordingly, there can no reasonable dispute that Plaintiff was a “qualified

  individual” for purposes of her claims against Defendant FDC under the ADA and

  RA, and summary judgment on this issue is warranted and proper.




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                                 VI. CONCLUSION

        WHEREFORE, for the reasons set forth above, Plaintiff respectfully requests

  that the Court grant partial summary judgment in favor of Plaintiff and against FDC

  as to the issue of whether Plaintiff was a “qualified individual” for purposes of her

  claims against Defendant FDC under the ADA and RA.

                                         Respectfully submitted,

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                                         /s/ David A. Weisz
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                                         Counsel for Plaintiff




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                             CERTIFICATE OF SERVICE

        The undersigned certifies that on this 21st day of July, 2020, a true and correct

  copy of the foregoing was electronically filed in the U.S. District Court, Middle

  District of Florida, using the CM/ECF system which will send a notice of electronic

  filing to all counsel of record.

                                         /s/ David A. Weisz
                                         DAVID A. WEISZ




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